             Case 1:21-cv-10102-ADB Document 13 Filed 04/05/21 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
THE SATANIC TEMPLE, INC.                          CASE NO. 1:21-CV-10102
                                 PLAINTIFF,
       v.
CITY OF BOSTON, MA
                                DEFENDANT.

                 DEFENDANT CITY OF BOSTON’S MOTION TO DISMISS
                            PLAINTIFF’S COMPLAINT

       COME NOW Defendant City of Boston (“Defendant City” or “City Council”), by and

through the undersigned counsel, pursuant to Federal Rules of Procedure 12(b)(1) and 12(b)(6) ,

and move for dismissal on all claims of Plaintiff Satanic Temple, Inc. (“Plaintiff” or “TST”). As

grounds for this Motion, Defendant City submits the following:

       i.        Plaintiff cannot establish that it has suffered an injury in fact or that a favorable

                 decision by this Court can redress its alleged harms;

       ii.       Plaintiff lacks standing to bring its claims and, as a result, this Court lacks subject

                 matter jurisdiction to hear them;

       iii.      Plaintiff’s claims under the Establishment clause are barred by controlling

                 Supreme Court precedent; and

       iv.       Plaintiff’s Complaint fails to plausibly state claims for relief under the

                 Establishment Clause, the Free Speech and Free Exercise Clause of the First

                 Amendment, and the Equal Protection Clause of the Fourteenth Amendment.

       In further support of this Motion, Defendant incorporates its Memorandum of Law in

Support of Defendant’s Motion to Dismiss. Defendant’s Motion and accompanying

Memorandum of Law are supported by the Complaint and the attachments annexed to the

Complaint which are incorporated in this Motion as if fully contained herein.
             Case 1:21-cv-10102-ADB Document 13 Filed 04/05/21 Page 2 of 3




       WHEREFORE, Defendant City respectfully requests that this Court:

       i.        Grant its Motion to Dismiss all claims of Plaintiff’s Complaint;

       ii.       Dismiss Plaintiff’s claims with prejudice; and

       iii.      Award Defendant City its reasonable attorneys’ fees and costs and other just and

                 equitable relief as the Court deems appropriate.




                                                     Respectfully submitted,


                                                     DEFENDANT,

                                                     CITY OF BOSTON,

                                                     By its attorney,
                                                     Henry Luthin,
                                                     Corporation Counsel


                                                     /s/ Nailah A. Freema____________
                                                      Robert Arcangeli (BBO #689034)
                                                      Nailah A. Freeman (BBO #695910)
                                                      City of Boston Law Department
                                                      One City Hall Square, Room 615
                                                      Boston, MA 02201
                                                      Telephone: (617) 635-4064
                                                      Facsimile: (617) 635-2012
                                                      Robert.arcangeli@boston.gov
                                                      nailah.freeman@boston.gov


Dated: April 5, 2021



                                  CERTIFICATE OF SERVICE

        I hereby certify that, on April 5, 2021, this document was served on Plaintiff by
electronic mail as follows:
  Case 1:21-cv-10102-ADB Document 13 Filed 04/05/21 Page 3 of 3




Matthew A. Kezhaya
Kezhaya Law PLC
333 S. 7th St., Suite 2450
Minneapolis, MN 55402
matt@kezhaya.law


                               /s/ Nailah A. Freeman
                               Nailah A. Freeman
